a
          Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 1 of 30




                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DiVISION

    SHAVONDA BAILEY, as Next Friend of              §
    K.A., and P.A.; and VIVIAN LAMPKTNS,            §
    As Next Friend of J.h                           §
                                                    §
    v.                                              §         CIVIL ACTION NO. 13-C V-700-FB
                                                    §
    CITY OF SAN ANTONIO, TEXAS;                     §
    NATHAN PRESTON, Individually                    §
    VIDAL DIAZ Individually                         §
    MICHAEL FLETCHER, Individually                  §
    FRANCISCO GALVAN, Individually                  §
    MATTHEW FLORES, Individually                    §
    AUI3REY PLAUCHE, Individually                   §
    MATTHEW QUINTANILLA, Individually               §
    ROBERT TAMEZ, Individually; and                 §
    PAUL TRIGO, Individually                        §


                                 AFFIDAVIT OF CHRIS RENA VIDES

    STATE OF TEXAS                §
                                  §
    COUNTY OF BEXAR               §

            Before me, the undersigned authority, personally appeared CHRIS BENAVIDES and
    stated as follows:

            "My name is CHRIS BENAVIDES. I am of sound mind, capable of making this
    affidavit and personally acquainted with the facts stated herein:

           'I am employed by the San Antonio Police Department and have been employed by the
    San Antonio Police Department for approximately fourteen years. I currently hold the rank of
    Lieutenant. I have held every rank in the Police Department up to and including the rank of
    Lieutenant. I am currently assigned as the Unit Director overseeing the Homicide Unit and have
    held that position since August 2012.

            The personnel in the San Antonio Police Department's Homicide Unit, specifically the
    shooting team, are charged with and have a legal duty to investigate all custodial death cases
    involving members of department. The shooting team is a group of departmental members who
    report directly to the Deputy Chief in command of the Investigations Division. All shooting
    team members are assigned specific investigative responsibilities in furtherance of the custodial
    death investigation including the taking of factual statements of the officers and witnesses
    involved or present at the scene and gathering the reports and/or supplemental reports of the



                                               EXHIBIT "D"
     Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 2 of 30




officers present at the scene. The legally authorized investigation by the shooting team results in
the generation of a report which consists of the factual fmdings of the investigation. The
Homicide unit is responsible for the maintenance of copies of all officer involved shooting /
custodial death investigation files, and I am the custodian of those records.

        The incident made the basis of this investigation involves Officer Francisco Galvan,
Detective Nathan Preston, Detective Michael Fletcher, Officer Matthew Flores, Officer Matthew
Quintanifia, Officer Robert Tamez, Officer Paul Trigo, Officer Vidal Diaz, and Officer Aubrey
Plauche and the custodial death that occurred on August 4, 2011 at 10800 Deep Water Bay
which resulted in the death of Pierre Abernathy. In fulfillment of their legal duty, the shooting
team investigated this custodial death under SAPD Case 11-195919, and as part of the
investigation took statements of the officers and witnesses present and/or involved in the incident
arid gathered the reports and/or supplemental reports of the officers at the scene.

         As the custodian of records for the Homicide Unit, I am attaching hereto twenty-eight
 (28) pages of records from the San Antonio Police Department Homicide Unit from the
 investigation by the shooting team of the custodial death under SAPD Case 11-195919.
 Specifically, I have attached 1) the statement of Officer Francisco Galvan; 2) the statement of
 Detective Nathan Preston; 3) the statement of Detective Michael Fletcher; 4) the statement of
 Officer Matthew Flores; 5) the statement of Officer Matthew Quintanilla; 6) the statement of
 Officer Robert Tamez; 7) the statement of Officer Paul Trigo; 8) the statement of Officer Vidal
Diaz; 9) the statement of Officer Aubrey Plauche; and, 10) the statement of Gary Hovermale.
The twenty eight (28) pages of records attached hereto are kept in the regular course of business,
and it was the regular course of business of the San Antonio Police Department Homicide Unit
for an employee or representative of the San Antonio Police Department Homicide Unit, with
knowledge of the act, event, condition or opinion recorded therein, to make the record or to
transmit information thereof to be included in such record; and the record was made at or near
the time of the event or reasonably soon thereafter. The records attached hereto are true and
correct copies of the original.

       'Further affiant sayeth not."



                                             LI. CHRIS BENAVIDES
                                             San Antonio Police Department


       SWORN TO AND SUBSCRIBED BEFORE ME, the undersigned Notary Public for the
State of Texas, by the aforementioned affiant, ChRIS AVID S, o s e j7 day of
February, 2015.


                                             o    Public, State of Texas
        .                                   My commission expires:     4



                                                                                         Page 2 of 2
            Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 3 of 30




STATE OF TEXAS' §                                                    CaseNumber: 2011-195919
@ -COUNTY OFEEXAR §                                                  Date and Time: 08-04-11 ( 0900
                                                                     Taken. by: Pet. Roberts #2393

Page   1   ofi
         BEFORE ME, the undersigned authority inand for the State and County aforesaid, on this day personally appeared
,Ofiicer F. .Galvan O2 14, being by me duly sworn upon his/her oath deposes and says:


I am Officer F. Galvan, badge nuniber 0214, with the San Antono Police Department, 1 graduated thc-
SAPD Academy in October of 2001. 1 am currently assigned to East Patrol on the B Shift. I also wo±
the DWI STEP prograut. While [was in the Academy, I was certified in the Horizontal Gaze Nystagrna
and other field sobriety test.. I have been re-certified every year since then, with my last re-certification
towards the end of the year 2010 I am also certified as a Crises Response Team. and am certified, to cariy
a TASER. The CRT school was a week long and the TASER SchOol was a two day class,


Last night, August 3,2011, I was on special assignment and was at a Drug Interdiction School.. I was also
signed up for the DWI STEP program I had roll call at 2300 hours I was dressed in full SAPD
regulation uniform and I was driving an unmarked SA.PD Patrol vehicle This vehicle does not have the
usual over head bar lights on it. The emergency lights are mounted in the grill of the car, in the dash and
in the back window.

On. the STEP Program, we are not assigned to any particular area of town. I have been. working STEP for
over ten years. I probably have over 500 arrests for DWL When. I work STEP I usually work either the
downtown area or the northwest area. I usually partner up with Detective M Fletcher. We are in separate
cars but usually work in the same area together since we work well together.

After roil call, Detective Fletcher and I went to the area of Loop 1604 and Lock Hill Selma. There are
numerous bars in this area and there are a lot of DWI's. I stopped two cars for running a stop sign and
issued four citations While [was p4trolllng, I heard Detective Fletcher check out on traffic I used my
GPS to located Detective Fletcher and was going to go back him up on the traffic stop at Loop 1604 and
IH 10. This was between 0230 aiid         045 hours.
While I was driving to his location, I took the exit from 1604 to IH lOW. I stayed on the access road and
was nialcing the turn around at La Cantera when I noticed a vehicle driving the wrong way on La Cantera.
I saw a black Ford Explorer driving east in the west bound lane.. This part of La Cantera has a medium
that separates the east and west lanes. As l.Wa.s watching this vehicle, I.saw another vehicle traveling iii
the right direction. The other car stopped and the Explorer drove around it. The Explorer kept driving in
the wrong lane. .1 got on the radio and advised the dispatcher of what I had seen and told the dispatcher
that. I was going to stop the vehicle. There was, no other traffic. at that time and I feared that if 1 did not
                                                                                                                          t\J
stop this vehicle there would be a major accident




                                                  Signature
                                  4th
                                                                                                                          z
Witnessed before me on this             day of August, 2011

                                                                                                                          0
                                                                                                                          0
                                                                  Det&tWe Roberts #2393                         COSA
                                                                                                                000111
                                                     EXHIBIT "D-1"
             Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 4 of 30



 STATE OF TEXAS §                                                       Case Numbei. 2011-195919
 @ -COUNTY OF BEXAR §                                                   Date and Time: 08-04-11  0900
                                                                        P -- jy. L'el. !'OveJ LS
                                                                         .   au                       !_    -




 Page   1   ofi
            BEFORE ME,   the undersigoed authority in and. for the State and County aforesaid, on   this   day personally appeared
 ,Officer F. Gah'an #0214, being   by me duly sworn upon his/her oath deposes and says:



 I activated my emergency lights at thistime and 1 got behind the Explorcr The Explorer was not speedint
 but I noticed that the drivewas having a hard time maintaining the lane; he was weaving in and out of his
 lane. My lights were on and I turned on my siren. The vehicle would not stop. I heard over the radio that
 Detective Fletcher was on the wayto my location as well as Prue Road officers.

As I was following the vehicle it stopped at a stop sign, then turned into the parking lot heading towards
the Bass Pro Shop As the driver turned, I could see him looking at me through the drivers side minor I
saw that he was talking on Ins cell phone I gave the dispatcher his descnption, a black niale wearing a
black cap. As he was driving in th parking lot he started to slow down. I thought that he was going to
stop his vehicle arid run c5n foot. I asked the dispatcher to dispatch a K9 unit.

The driver kept driving, again he was not speeding but he was weaving. He drove to the access roai of IH
 10 I told the dispatcher that I thought he maybe going towards Boerne and to have my cover officer's
head that way. He exited the parking lbt and I was still behind hini with, my lights and simn on. He
drove west on the access road and then pulled back into the parking lot near the Lowes Store. He did this
two times, exiting the parking lot onto the, access road and then back into the parking lot. Again he was
not speeding but could not maintain his lane of travel.. During this time 1 was able to' give the dispatcher a
good description of the vehicle and the license plate number,

 The vehicle exited the parking lot again and got onto La Cantera, the proper lane this time. He weiit under
  Hl 0 and took a left on the access road heading towards Loop 1604 Again, the vehicle is not speeding
 but weaving from lane to lane. At about this time I heard over the radio thaI EAGLE was overhead. The
 driver continued on the access road and got onto 'the access road of 1604 heading west He drive past the
 La Cantera exit. He ran the red light at, I think, UTSA Blvd. At this' flm Detective Fletcher was behind
 me and got on the radio and said that he would take over the radio communications with the dispatcher. I
 still had my lights and siren on. The driver of the Explorer pulled into a Chevron gas station and had to
 go aiound people and vehicles that were in the parking lot At this time I was unable to stay behind the
 vehicle so Detective Fletcher became the leacL The driver then exited the 'Chevron and was heading back
to l604 He took a left on the access road and was now headitig towards 11110. He took the exit for IHIO
and continued on the access road. Again he was 'not speeding but was still weaving. The driver ran the
red light at UTSA Blvd and then got onto 11110W heading 'towards ,downto'n. He was in the outside
1right) lane and continued all the way to Loop 410 Again be was not speeding but weaving The dnver
 ook the exit for Loop 410 and was now headed west Detective FIetber got on the radio and advised that



                                                      Snat(,A )a9i4
                                     4th
Witnessed before me on this                day   of August, 2011                     '


                                                                                    / r/'
                                                                     Detectivbeits            2393                        COSA
                                                                                                                          000112
                                                         EXHIBIT "D-2"
             Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 5 of 30



  STATE OF TEXAS                                                          Case Number. ...Oil-195919
    -COUNTY OF BEXAR §                                                    Date and Time: 08-04-11                 0900
                                                                          Taken by:         Det Roberts #2393
 Page   1   ofi
            BEFORE ME, the undercigried authority ui and for the State and   County aforesaid, on   this   day personally appeni ed
 ,Officer F.   Galvan #0214, being byrne duly sworn upon   his/her oath deposes and says:




  he was going to back off and let Officer Preston take the lead because Officer Preton'S patrol, vehicle, ir
  equipped with video. The driver of the Explorer continued in the outside lane and then took the 151 exit
  heading out of town. He stayed on the access road until he reachedl Miiitar Dr. The driver -an the red
  light and took a left oti MIlitaty Dr. I don't know the names of the streets at this point. The driv
 stopped for a stop sign then continued on and turned left into a subdivision then took the first left. I
 looked at the street sign a±id he had turned on Deep Water Bay.. This street is a cul-de-sac. The driver
 stopped in front of a ho'us that had a lot Of cars parked in the drive way Officer Preston bad stopped
 right behind the Explorer and I stopped behind him I exited my patiol car and ian up to the driver I had
 drawn my TASER and was now pointing it at hun The driver had his hands up but the window was also
 up We weie yelling at hun to get out of the car and to get his hands up The driver did get out of his car
 The driver was about 6'2 and was a good 250. pounds. It looked like he was more muscularthan fat I
 also noticed that there was a K9 officers with me The driver got out of ins car and bad his hands up I
 had my TASER pointed at him arid told him to get on the ground At first he hesitated but then complied
 Officer Preston got has left hand handcuffed and was going for his nght hand. I put my TASER up and
was going to help when the driver Jactor] would not take his right hand from under hun. He started to
resist so I pulled my TASER back out and turned it on Officer Preston was unable to handcuff the actor
and the actor stood up. He was larger than me and I decided to use my lASER. I yelled, "TASER
TASER!" and I fired at center mass. My TASER deployed for five seconds and had no effect on the actor.
He just stood there and did not e'en tense up. I pulled the trigger again activating it for another five
seconds. This had no effect on him. Th wire leads to the TASER are 21 feet. The actor started running,
for what I guess was his mother's house because he was yelling, "Mominal Momrnal" as be ran towards
the house. The leads to my lASER are still in him.

Myself and another officer were running right behind him. The actor reached the front door, a glass. storm
door, and tried to get in. The glass to the dOor shattered at this time. rpuned the cartridge off my. lASER
and I thought I reloaded it. I found out later that I had not. My intent was to shoot the actor again with my
lASER. The actor then ran to the house next door and tried to get in. One Of the K9 officers, I don't
know his name, hit the actor in the uppertorso with his ASP, Again, this had no effect on him. .1 don't
know who it was, but I heard, "lASER! TASER!" and someone shot the actor again with a TASER. It
bad no effect on him. The actor ran back to his mother's house and tried to get back in again and, started
fighting with officers. He then broke loose and started running down the street. A K9 officer released his
dog and the dog latched onto the actor's buttocks The actor coutmued to run with TASER leads and the
dog still attached to him. The actor ran to the second house to the right of his mother's front door and fell




                                       4th
Witnessed before rue on         this         day of August, 201i                       /7           f




                                                                     Detective Roberts #2393
                                                                                                                          COSA
                                                        EXHIBIT "D-3"                                                     000113
             Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 6 of 30



 STATE OF TEXAS §                                                     Case Number. 2011-195919
  @-00UNTYOFBEXAR                                                     Date and Time: 08-04-11             0900
                                                                      Taken by:       Oct. Roberts 2393

 Page. 1   of I
          BEFORE ME, the undersigned authority in arid for the State and County aforeseid, on this day personally appeared
 ,Officer F. Galvan p0214, being by me duly sworn upon his/her oath deposes and says:


 into   some bushes. We were trying. to hand cuff him but he continued to fight 1 hit him iii the upper bae
 with the ball of my fist but nothing happened, he continued to fight. I theti tarted hitting him in his
 stomach but nothing happened. Oticer Taniez vas thçre arid finally got control of his left arm but could
 not get his right. Officer Taniez yelled that the actor had his leg. I looked and .saw that the actor had
 hold of his right leg at the ankle. I continued to hit the actor. until I heard someone yell, "TASER!
 TASERI and the actor was shot again with a TASER. This still had no effect on the actor. He is being
 tased and the dog is still on him. After a struggle, we were able to. get his rigbt arm and gOt 'him
 handcuffed.

As is normal with any TASER deployment, I asked th dispatcher to statt. a Sergeant, an Evidence
Detective and EMS. While waiting for EMS, an officer checked oi the actor. The actor was talking, I
don't know what he was saying, and be was breathing, This officer would check him every so often and
would say that he was still bieathing and doing good Au officer checked him one more time and yelled
that the actor was not breathing At the same time SAFD arnved We told them that the actor was not
breathing: An officer, I don't know who,. started chest. compressions while a Fireman was doing the.
breaths. EMS showed up arid transported the actor to the hospital.

During the stniggie with the actor, I received several deep scratches on both my armS.. I don't know if
they were from the actor's fingernails, the bushes or both EMS treated.rny arms at the scene.

I would like to say that the actor was thuch physically larger and stronger than I an& most of the officers
that were out there, Even after being titsed and hit several times, and the dog biting him, we could not
stop or control him.




                                                   Signature    .JA
                                  4Lb
Withessed before me on this             day of August 2011



                                                                  Detectii       15iii:7   #2393                  COSA
                                                       EXHIBIT "D-4"                                              000114
         Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 7 of 30


 STATE OF TEXAS                                                      CaseNum              SAPDIII95919
 COUNTY OF BEXAR §                                                   Date an  Th.   08/03111   06:48
                                                                     Taken by: DeL Greg Garveffi #2076

BEFO1 .ME, the undersigned authoxityin and for the.State and County.aforesaid, on this day personally appeared, Officer N.
Preston '16O, being by me thily sworn upon hisiraath deposes and says:.


My iiame is Officer Nathan Preston, I have been an officer with the San Antonio Police Department for 14
years and 3 months and am currently assigned to the third traffic shift, TCC/DWI Unit.

Tonight I was working my regular shift, 2000 hours to 0600 hours, I drive a marked unit equipped with
overhead lights, siren and Coban digital recording equipment (video and audio) I was completing a DWI
report at 401 S. Fr-jo and was leaving the detention facility. When I exited the detention facility I turned
my .radib on and heard officers on the traffic channel attempting to get a vthicle stopped. I did not hear
what officers were attempting to stop the vehicle for but I did hear a supervisor say that he only wanted
two vehicles involved in the pursuit; I also heard officers in the pursuit call for a K9 officer as they felt
th guy was going to bail out of the vehicle. The pursuit was in the 11110 / La Cantera area when I was
leaving the jail. I left the jail and proceeded to the area where the pursuit was as the officers on the radio
involved were stating the guy was looking for a place to bail out and I wanted to be in the area in case this
turned into a foot pursuit.

I was onIB l0.westboimd near- 1604 when Isaw the vehicle pursuit on the eastbouiid access road of IHIO.
Once I got turned around th pursuit was on the main lanes of IH 10 W as I was coming up behind them. I
could only see two police vehicles with their lights on but there.werc other police vehicles including a 1(9
unit following at. a good distance from the actor's vehicle. As I got up closet to the pursuit. the suspects
vehicle was on the main lanes of IH 10 W eastbound near Medical. At this point I got on the radio and
asked a Sgt. Bornhauser, the managing supervisor, for permission to be one of the vehicles involved as I
bad onboard video in my vehicle. Sgt. Bornhauser gave me permission on the radio to get involved in the
chase. I got in behind the suspect's vehicle in the primary position and one of the police vehicles with
their lights on shut down their overhead emergency lights and. dropped back. I remained in the primary
pursuit positi.on until the suspect vehicle stopped The secondary police vehicle in the pursuit called the
chase. From the time I entered into the pursuit with SgL.Bornimuser's permission until the suspect was in
custody I had my onboard video and audio recording..

The chase continued on 11110 W eastbound and went 410 west.. The speeds were near the speed limit of
60 miles per hour and the. suspect Would sometimes speed up to approximately 70. We exited onto 151
outbound and took an, exit off of 151. I am not sure exactly what exit we got off on as I was not calling
The pursuit and had.Blue Eagle and other officers on the radio at that tiriie. I think we ended up on a street.
named Rousseau but I am not positive. From there I remember turning onto a street named Baywater or
Waterbay. I remember calling out this street name but am not sure of the exact name of this street I do
remember this was a dead end street and called this out to the dispatcher and other officers on the radio.



                                                   Signature,

                                                                                        4th
                                                   Witnessed before      me on   this         day of August, 2011




                                                                   Detective Greg GarveJli #2076


                                                     EXHIBIT "D-5"
                                                                        DOCUMENT                         'A     000102
                                                                                                                             H
              Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 8 of 30


       STATE OF TEXAS §                                                   CaseNumi              SAPD11195919
       COUNTY OFBEXAR                                                     IJMe   arid   Th.      08/03/11   (   06:48
                                                                          Taken. by: Det. Greg Garvelli #2076

       BEFORE ME, the undersigned authority In and for the State and Cuntyaforesaid,.on this day personally appeared
                                                                                                                        Officr       T

       Preston #160, being by me duly sworn upon his/beroath deposes and says:



      Once on this dead end street th suspect pulled his vthicle, blaCk SUV, partly into a driveway in
                                                                                                           the cul-
      dc-sac. I could see the suspect moving around in the vebicl and I had heard earlier in the pursuit
                                                                                                           that th
      suspect may be looking to bali out of the vehicle so I iromCdiately approaciid on the diiverside.
                                                                                                             Thc.
      was another officer that was on the passenger side of the vehicle but I don't know who this ofiic.er
                                                                                                              war.
      All I knew is that it was aiiothei officer so 1 stayed focused on the driver I noticed as I got to the                dnv.
      side door that the suspect was sweating as if be bad been in a sauna.. Ittied to open the door othe suspect
      vehicle but it was. locked. I did. have my hand on my gun but never took: it out of the holster. The driver
      immediately put his hands up and I could. see he. didn't have a weapon in his hands. I was yelling.
      commands    at the driver to   unlock the door. The driver unlocked the door andi immediately opened the
      driver sjde door. The officer on the passenger side of the vehicle opened the passenger side. door at
                                                                                                             this
      time also. I was able to get a hold of the driver and get him, out of the vehicle. When I got. my hands on
      the driver initially ray bands just slipped off of hun because he was sweating so
                                                                                         much I then grabbed his
      wrist with a tighter grip and as he was exiting the vehicle I guided him to the ground. The suspect was
      majbe a little bit shorter than me but be did outweigh me and I weigh. approximately 220 pounds. Other
      officers were coining up behind me but i don't know who they were.

   Once I had the driver on the ground I had a hold of his right arm. I was able to get one handcuff on
                                                                                                               his
   right wrist when the driver began to push up from the ground. He pulled his right hand with the
                                                                                                         handcuff
   on it to his thest arid I lost control of him at this point. He then began to push up off the ground in an
   apparent attempt to getup. I was trying to get the suspect's arm behind his back when
                                                                                              I beard a taser go
   off. At this point I let go of the suspect as a taser was being deployed.. The suspect was up on
                                                                                                        his knees
   getting to his feet at this point. I was on the right side of the suspect when he
                                                                                     turned away from me and I
  made contact with the taser wires. I ended up. getting the shock from the taser wires and myself
                                                                                                          and the
  driver ended. up against another vehicle that wa.s in the driveway. I don't retriember much for a
                                                                                                              few
  seconds after being tased. The next thing I do remember was the suspect running toward the front
                                                                                                          door of
4 'he house and I heard gins.. breaking. I didn't know if the suspect ran through
                                                                                     some glass at the house but
       neit thing I saw was another officer struggling with the suspect at the front door I then ran up to the
      trugglc with   my taser out of its holster..

  I could hear and see o±cers in a violent sugg1e with the suspect when I advised. ofThers that I was
                                                                                                      going
  to tase the suspect The officers straggling with. the suspect gave him a little room and I deployed
                                                                                                        my
  taser at the suspect. I was approximately 5 to 7 feet from the suspect hen I deployed my taser
                                                                                                        The
  suspect. stopped struggling for a very short time but then took, off running again to the left if you
                                                                                                        are
  looking at the house.      He stretched my taser wires     out and broke them off so he had received          maybe a     I   or




                                                      Signature


                                                      Witnessed before me on this         4th
                                                                                                day of August. 2011



                                                                     Detective   Greg    Garvelli #2076


                                                                                                                   COSA
                                                        EXHIBIT "D-6"                                              000103
          Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 9 of 30


 STATE OF TEXAS §                                                     Case Num              SAPDI119S919
 COUNTY OF BEXAR §                                                    Date and Tin.             08/03111   2l   06:48
                                                                      Taken by: Det. Greg Garvelli #2076

 BEFORE ME, the undetsigned authority in and for the State and County aforesaid, on this day personaily appoarod, Officer N.
 Preston #160, being by me duly sworn upon his/her oath deposes and, says:


 2 second shock from the taser. The suspect ran to the house to the left and appeared to be trying to get in
 the front door of this hottse.

I ran acnDsstheyard toward the suspect while reloading my taser with a new cartridge. There were mayb
otie or ttvo officers in front of me while I was running through the yard to the house to the left. When 1
got within 5 to 7 feet of the uspect again there were no officers physically engaged with the suspect so I
deployed my taser again. I think that I called out to the suspect and other officers that I was deploying my
taser again but I can't be sure. The suspect was on hi feet when I deployed this econd time. After
deployment the suspect went to his knees for 2 to 3 seconds, got up and began running back toward the
ongmal house He stretched out the taser wires again breakmg theni off so he got about a 2 to 3 second
shock from my second taser deployment.

When the suspect 'ran back to the original house I removed my second cartridge from the taser and secured
my taser in its holster on my belt. The taser does have a contact shockthat can. be applied but seeing the
suspect had.been tased 3 times already and knowing that this apjlication had no effect on him I holstered
so the taser would have less of a chance of being used against me Ot another officer. While holstering my
taser I could hear a K9 officer yellmg to another K9 officer to go get the dog I had lost sight of the
suspect at this point as he had run around some vehicles toward the original house.

I ran badk into the street in the cul-.de-sac area and sawthe suspect running away froni a police dog as the
 dog was biting at him from behin& The suspect was about 2 houses over from the original house when I
 saw him running up into the yard. The K9 had a bold of the suspect's pants and was stretching him out as
be was trying to run. The suspect was still trying to run but th dog was holding the guy pretty much
stationary spot sO I took this opportunity and ran up tackling the suspect. We fell to the ground through
some bushes. I was trying to get the suspect's arm with the handcuff on it under control when the suspect
pushed up with his left arm off.the ground and pulled his arm with the handcuff on it toward his chest I.
was losing control of the suspect's ann with the handcuff on it. I had been in a physical struggle with the
suspect for some time and received a taser. shock during this struggle. I was physically winded and feared
that if the struggle continued the suspect may seriously injure me or other officers at the location. Being
that the suspect still had one handcuff on his right wrist and the dangling end of the handcuff could be
used as a weapon against myself or other officer$ at the scene I hit the suspect with a closed fist at least
two times to his bead area in an attempt to gain control of him. Some other officers were making contact
with the suspect at this point and I know at least one of these offlOers had deployed, their asp baton and
had struck the suspect. I am not positive but I think there was one more taser deployed on the suspect. At



                                                   Signature

                                                                                         4(11
                                                   Witnessed before me on        this.          clay of August,    2011




                                                                   Detective Greg Garvelli #2076

                                                                                                                        COSA
                                                      EXHIBIT "D-7"                                                     000104
        Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 10 of 30


STATE OF TEXAS §                                                    Case Numi        SAPD11l95919
COUNTY OF BEXAR §                                                   Date and Tirt.. . 08/f3Ill O648
                                                                    Taken by: Det. Greg Garvelli #2076:
BEFORE. ME, the undersigned authority in and for the State and County aforesaid on this day personallyappearad, Offlcr N.
Pretou #160, being byrne duly sworn upon his/her oath deposes and says


this point other officers were able tO get both the suspect's hands behind 'him and handcuff both hands
bchmd his hack I was holding the suspect's legs at this time with one foot pulled into the ciease of In
opposite leg and had his opposite leg bent up at the, knee to not allow him. to have leverage to get up o
the ground again. Once the handcuffs were applied all the officers, including myself; got off the suspect.
The suspóct was placed in a seated position by other officers and I could bear him yelling to his mother
and his. mother yelling back. I don't remember what the suspect and his mother were yelling back and
forth. I went to a. yard 'next door and went to' my knees to catch my breath. Either myself'or another
officer had called on the radio for EMS once the suspect was in custody.

I then went to the house where family members of the suspect were and attempted to explain to them what
was going on. I felt pain in my right hand and went to my vehicle at the direction of Captain Andersen. I
had injured my right hand when I struck the suspect with a cJosed fist From there I was transported by
Det. Mike Fletcher to Santa Rosa Westover Hills for treatment. After treatment I was taken by Officer N.
Hernandez to the Homicide Office for a statement.

I have read this statement arid everything in it is true and correct. I have not been promised anything for
this statement,




                                                 Sgnare
                                                 Witnessed    before me on this 4' day of August 2011



                                                                Detective Greg Garvdlli #2076

                                                                                                             COSA
                                                   EXHIBIT "D-8"                                             000105
       Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 11 of 30


                                                                    Case Numb         11-1.95919
STATE OF TEXAS §
                                                                    Date and   Tin.    8/4/2011 10:07    AM
COUNTY OF BEXAR
                                                                    Taken by: Det. M. De Leon #2058

Page   1    of    3
                                BEJ?ORE ME, the.undersigned authority in and for the. State and County aforesai& on this
                                                                 upon his/ber oath depcses and says:
day persoñafly.appaared Michov Fether who being by me duiy sworn


        My name is Michael Fletcher. I am 33 years old. I am
                                                             a full time Sati Antonio Detective assigned
to the Sex Crimes Unit I can reac, write and un&rstand
                                                        the English luigu age I have come to the
                                                                    an in custody death.
Homicide Unit today to talk to Detective Dc Leon #2058 about
                                                                        While 1 was on Patrol I heard Officer
        Last night I was working overtime with the DWI Step Unit
                                                                   wrong way driver. Officer Galvan said the
Frank Galvan come over the radio asking for assistance with a
                                                                        Officer Galvan said the driver was
driver was going the wrong way on the access road of III 10 West.
Eastbound in the West bound lanes of the access road near
                                                               La Cantera. At this point I was at lB 10 and
UTSA Blvd turning around to go West on 1} 10.1 then asked
                                                                  for his location and he said they were
circling the parking lot near the. Bass Pro Shops and the Rim
                                                                  hopping center.
        When I arrived in the area I noticed that they were westbound
                                                                            on the access road and Officer
                                                                County Officer noticed that I was approaching
(lalvan was being followed by a Bexar County Officer. The
                                                                          báhind Galvan as the suspect vehicle
and he yielded to let me pass him. I then, became the second vehicle
                                                                  suspect then exited the parking lot and went.
continued through the parking Jot of the Bass Pro Shops. The
                                                                       areas and re-entered the parking lot, at
all the way down the access road westbot.md past all the shopping
                                                                             being the lead and the J3CSO
the end ofthe access road, We did this two times with Officer Galvan
                                                                           thae the BCSO Officer backed off
Officer being the thfrd cat, Once. we circled the parking lot a second
                                                                                 driving the Black Ford Explorer
and a Prue Officer got behind iiie and he gave a description o.f the suspect
                                                                              we were westbound again 1
as wemade a right turn off of La Cantera to go westbound again. Once
                                                                      lot as  Galvan and myself continued
noticed the Prue Officer cut through 'the Bass Pro Shops parking
                                                                 point we exited the Bass Pro Shops area on
following the Suspect vehicle around the parking lot. At this
La Cantera nd went under IH 10 towards Fiesta Texas. The
                                                                 Prue Officer followed behind u at a distance.
        Once we went under Il-I 10 (3alvan continued to be     the lead and I was the second vehicle. I don't
                                                                           on my radar unit when requested by
know exactly hOw fast we were going but I read the speed displayed
                                                                                  1604 and made a right turn to
the Supervisor. The suspect vehicle continued west On La Cantera towards
go South on the access road of 1604. The suspect
                                                     vhicle thenmade a right turn on. Babcock rd and
                                                                    other Officer's who had arrived. .The
pulled in to a gas station atthe corner, At this point there were
                                                                    police cars. Once he exited the gas station
suspect then weaved his way through the parkiii lot past other
parking lot:the suspect went across the lanes and took the
                                                              turnaround to go northbound on 1604. Once
                                                               and became the lead Officer again. The suspect
back on. thel 604 access road. Officer Galvan passed me up
                                                                up to the IH 10 west frontage road. As we
vehicle then continued.no.rth on the ac as road all. the way
                                                             a supervisor vehicle enter onto the main lanes of
approached the eastbbund access road of lB 10 I noticed
                                         access road with his overhead lights on and sped
                                                                                              past us. As we
IH 10 from       the   IH 10 west eastbOund




                                                      Signature                       '--:--
                and subscribed before rue     this.   4   day of August A.D., 2011.
Sworn      to




                                                                      Peace Officer



                                                                            DOCUMENT'#..
                                                                                                              000128
                                                          EXHIBIT "D-9"
        Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 12 of 30


 STATE OF TEXAS                                                    CaseNum'         :   11-195919

 COUNTY OF BEXAR §                                                Date and    Tit        8/4/2011 10:07   AM
                                                                  Taken by: Det.        M. De Leon #2058

Page    2    of   3
                                  BEOR1t ME, the undcmjgned authoriiy in and for the State and Counly    fOresaid. on this

day personally appeared Mfchael Fiecher who being byrne duly sworn upon his/her oath deposes and says:



 approached the UTSA Blvd intersection I noticed this supervisor vehicin exit the UTSA Blvd. exit and was
 in frontof the suspect vehicle.
         Both Galvan and I slowed down at this point because the supervisor vchic.lc had pulled in front of
 tho suspect vehicle and was slowing him down. We then caine up to the UTSA Blvd intersectIoli where
 the suspect vehicle went to the right around the supervisor vehicle. Galvan followed the vehicle through
 the intersection and I followed Galvan. The supervisor vehicle then followed me as we approached the Dc
 Zavala exit ramp, the supervisor vehicle at this point stopped and I continued to follow Galvart as we
 entered lB 10 west to go Eastbound before the Dc Zavala intersection. While travelling Eastbound near
 Fredericksburg Road Officer Nathan Preston came over the radio informing us that he had video in his
 vehicle and he then became the second vehicle. I then slowed down and followed at a distance.
         As they continued East on III 10 the suspect vehicle took the exit to go West on Loop 410. This
 cpntinued until the suspect vehicle exited from Loop 410 onto 151 North. While on 4101 heard on the
 radio that West Patrol was being dispatched to the suspect's home. The suspect vehicle continued on 151
until he exited Military drive. He then made a left on Military crossing over 151. The suspect vehicle ran
 the red light on Military and I briefly waited for the red light because it turned green shortly after the
 suspect ran it. The suspect continued west on Military and then turned left on Rousseau Rd then another
left on Deepwater. Once on Deepwater he drove to the end of the c.ul de sac where he stopped in front of
his driveway. I then pulled up as Officer Gaivan and Preston were at the suspect's driver side door yelling
 for him to exit the vehicle, Guns were drawn by Galvan and Preston and r also had my gun drawn as I
approached from the passenger's side along With a k-9. unit. I was watching both the passenger side and
the suspect's front door to his home until the k-9 Officer told melie had the front door. As I looked in the
suspect vehicle I noticed that he badreached down and unlocked the doors after heingtold reeated1' by
Officer's Galvan and Preston. I then went around the rearofthe vehicle to the driver's side and saw
Officer Preston and Gaivanstruggling to subdue the driver on the ground.
         At this point a sccon4 k-9 unit came up and ran past me and he also began to struggle with the
suspect. The suspect then got up and ran towards his front door. The Offlecr's.chased him to the front
door as the k-9 Officer with the dog on the leash also chased him. The Officer's continued to fight with
the suspect at the front door of his, home and he again broke free and ran towards a neighbor's house. He
attempted to kick in the front door of a red brick two story home. Again the Officer's began to struggle
with him on the front porch area of this hoine The suspect then broke away and ran back towards his
home through the cars parked in the driveway of his home. As he approached the front door of his hbrne, I.
ran to catch upto him and then grabbed him in a bear hug. We then fell towards the front storm door
shattering the glass. The main door to the home was closed. This is when an Officer started swinging an




                                                                                                           <'S
Sworn   to   and subscribed before   me this    4    day of August A.D.,2OI1.
                                                                                        2c

                                                                   Peace Officer



                                                                                                             COSA
                                                    EXHIBIT D-1O"                                            000129
        Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 13 of 30


STATE OF TEXAS §                                                      Case Num            11495919
COUNTY OF BEXAR §                                                     Date and Tin               AM
                                                                                            81412U11 1OO7
                                                                      Taken by: Det M De Leon #2058

Page   3   of   3
                                BEFORE ME, the undersigned authority in and for the State and Count' aforesaid, on this
day personaily appearedichcei F1echer who being by rae duly sworn upon his/her
                                                                               oath deposes and says:



ASP baton and struck my 1eft hand multiple times as iwas holding the suspect near the left lower
baeksidt. This immediately took me out of the tight. As I backed up the suspect brOke away and rari
                                                                                                                           to
another neighbor's home with Officer's still attempting to take control.
        I followed behind the Officer's and I could hear his mother and another
                                                                                               female yelling What are
yall doing to my boy" from her front door. I then directed my        attention     tow    rds  them advising them to get
back in the house. They then went back inside and I re directed my attention to the suspect and th
Officer's who were still struggling to take control. The Officer's and the suspeet had fallen in the bushes.
At this point the suspect bad one handcuff on his right arm, The suspect still would not give the Officer's
                                                                              out h has icy cuff'. They continued
his hands so they began to taze him. Ibeard one Officer say;"watch
to struggle with the suspect until they were able to get him handcuffed. After the suspect was
                                                                                                                  handcuffed
                                                                          the   suspectwas                face   down    in a
they pulled him out the bushes that they had been fighting in and                                 laying
                                                                                                                      walked
neighbor's front yard. Captain C Anderson then walked up and checked on the Officer's I then
away toeqnest EMS, the wagon, and a supervisor make the lOcation. I then retutned back to the suspect
ah noticed there were other Officer's there. One :of the Officer's suggested we roll
                                                                                                   the suspect on. hi side.
Once the sus,ect was rolled over ontohis left side, It could see that he was still breathing because his
stomach was moving up and down with each respiration. EMS vas on scene by this time so I walked
away to find some tape to remove glass from my face. Sgt. Waters and captain Anderson were asking. for
an Officer to take Officer Preston to the hospital.. I needed to get my hand looked at, so I volunteered to
take him, Weboth left together at this point and .1 drove him to the Cliristus Santa Rosa Hospital on 151
Hospital staff took our info and Preston was seen first and I waited in the ER. I was then taken to a
separateER room, where I was treated and x-rays were taken. Officer Armstrong then escortedme to the
Homicide. Offioe where I submitted my stitement.
        No on.has promised me anytingformy statement and everything Itold Det. M. DeLeon
                                                                                                                        #2058
in this statement is the truth. I have signed this statement because        everything      is  true and   correct.    This
incident occurred in San Antonio, Bexar CountyTexas.
        ///1//IJllh1/I1/IJ/J/I!/I1/I1!END STATEMENTIJII/////I////t///I//I/////i//I//iI//iI/!I/////1I/I/i/I//////i////II




                                                    4th
Sworn to andsubscribed before me this                     day of AugastA.D., 2011.


                                                                        Peace Officer


                                                                                                                   COSA
                                                     EXHIBIT "0-11"                                                000130
            Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 14 of 30




STATE OF TEXAS §                                                 Case Number: SAPD1I19S9I9

COUNTY OF BEXAR §                                               Date and Time: 08104111 0619
                                                                Taken    by.:   DET. R. Hines #2358



Page    1    of 3
BEFORE ME,                     authority in and for the State and County aforesaid, on this day personally
                    the undersigned
appeared Officer M. Flares #0189 who being by ni duly sworn upoii his/her oath deposes and says:

My name is Officer Matthew florcs, My badge number is 0189. I am assigned to West Patrol C Shift. My
days off are Monday and Tuesday.

                                                     at. 2230 hours. I vas assigned to work 5362C. I was
                                                3rd
I reported for work n Wednesday, August
assigned to patrol in a marked patrol car that is. equipped with emergency lIghts, siren, and full San
Antonio Police decals. My patrol car 'was one of the black and white cars. I was armed with my city issued
Glock model 22. 1 had 16 rounds in my gun and I had two magazines loaded with 15 rounds each. I was
also armed with my Taser. I was certified to carry a Taser around April of 2011 but I am not sure of the
date. I was dispatched to a call at the Red Roof urn at Alamo Downs and 410 for a male tiyng break into
soda machines. Iresponded to that, call with 'Officer Diaz #0879. We handled that call and we didn't find
anyone An N-Code was placed on that call After that call was complete I heard the dispatcher put out
over the radio that traffic bad a vehicle pursuit That was travelling southbound on Loop 410 I saw a dark
SUV like an Explorer travelling southbound on 410. I saw several patrol vehicles behind the dark Shy. .1,
along with Officer Diaz drove northbound on Loop 410 Access Road and we took the turn around at
Ingram Rd. We drove southbound on 410 and I saw Eagle flying like they were going westbound.on State
Hwy. 151. 1 was driving a long distance behind the pursuit and mypiurpose for being there was to assist on
                                                                                                saw the suspect
a quadrant in case the suspect started running. I was 'never involved in the pursuit.. I
vehicle and the patrol cars that were pursuing   the  suspect  vehicle turn on  151  Westbound.   I continued to
monitor the pursuit from a distance. As the pursuit continued I saw the     suspect  vehicle  and the patrol cars
turn left bn Military Drive. I continued following the pursuit from a distance. .1 saw the suspect   vehicle  and
the patrol cars turn left on Rousseau. I could see that  the suspect vehicle  didn't come. to a complete   stop at
the intersection of Rousseau and Military. After the suspect. vebicl        turned   Onto Rousseau    the suspect

vehicle then turned left on Deepwater Bay. I saw several patrol cars turn ontO Deepwater Bay so .1 decided
to go into the woods just north of Deepwater Bay.. I went into the woods about 150 yards. I did this in
order to set up a quadrant. From the woods I could hear officexs giving commands. I could not tell if they
were chasing the suspect or if the officers were fighting with the suspect. I heard the dispatcher put out an
E-tone for officer in trouble. I don't remember the dispatcher's exact words but she did say traffic officers
were fighting' with one. I.knew it was the officers that were on this pursuit that I had been assisting on. At




                                                Signature________________________________

Sworn    and subscribed before me, Randal Hines, a peace offic r in the State of Texas and
            to

pursuant to No. 602.002, Texas Government Code, on this _.3rd day of_August,
                                                                                 A.D., 2011.

                                                                   /2   .....

                                                 Peace Officer        L<1



                                                  EXHIBIT "D-12
                                                                            DOCUMENT #_._____
        Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 15 of 30




  STATE OFTEXAS §                                              CaseNamber:. SAPD11195919
  COUNTY OF BEXAR                                              Date and Time: .08/04/11 0619
                                                               Takeii by :    DET. R Hines #2358


 Page 2 of3
 BEFORE ME, the undersigned authority fri and for the Stateand Countyaforesaid, on this day personally
 appeared Officer M Flores #0189 wlio being by mc duly sworn upon his/her oath deposes and says

  that timc I decided to return to my patrol ear and go to the location on Deepwater Bay. I ran out towards
  Militaiy Drive and I beard a patrol car coming. I saw a patio] car about 150 yards away from me on
  Military Drive. I waved the officer down so be could give me a ride to the scene of the officers in trouble,
 This car turned out to be Officer Diaz I told Officer Diaz to give me a iide, to the scene and I jumped iii
  the back seat of his patrol car. Officer Diaz let down the window so I Would be able to get out of the Oar
 when we arrived at the scene. Officer Diaz drove to Rousseau then he went left on Deep Water Bay.
 Officer Diaz stopped and I i-an towards the commotion. I believe the house WhOre everything was
 happening was a two story house. When I got to where the officers were they Were in the fi-Ont yard near a
 bush. I could see several people yelling and I assumed that these were family members of the suspect. The
 suspect was a large Black male, heavy set with a dark complexion. I would say he weighed abOut 240-250.
 He was wearing baskOtball shOrts and a muscle shirt. I am not exactly sure about the clothing. There were
 already bout 4 or 5 officers struggling with the suspect. I could hear the officers giving, the suspect
 several commandO and the suspect. was not complying. The suspect's left arm was under his body. I
 believe one officer had his right arni. Since there were already officers trying to handcuff the suspect I
 believed that I would be able to help better with crowd control. There were what appeared to be fani1y
 members yelling at the officcrs from a distance but I could not tell what they were saying. L was
 controlling the crowd and I would periodically look over my shoulder and I could see that the officers
were still struggling with the suspect. The suspect was not responding to any commands at all. I don't
recall the suspect saying anything. I could see that: this suspect was. being very difficult to contro] and
 officers were not having any success with getting his left arm from undet his body. The officers who were
struggling with the suspect appeared to be very fatigued Ond they had been struggling with the suspect for
several minutes. 1 heard an officer say that he had already deployed his Taser and it had not effect on the
suspect. I decided that I would use my Taser on the suspect. This action was necessary to prevent this
prolonged struggle and. t prevent, the suspect and the officers from potential serious injuries. I believed
that a suspect that was able to keep 5 officers from getting his left Orm from under his stomach was
defmitely a danger to all. the officers present. I didn't: want the suspect to get any of the officer's gOns or
other weapons. I went to the officers and the suspect. I told the officers who were struggling with the
suspect that I was about to deploy my Taser. I just said "Watch out, I am going. to Taze him". I didfl't yell
"Taser, Taser, Taser.". All the officers just moved back. to make room to use my Taser. I leaned in very


                                                                              /7          c'/i'(
                                             Signatire          y/4v'           j/.
                                                                          7/
Sworn to and subscribed before me, Randal Hines, a peace officer iti the State of Texas and
pursuant to No, 602.002, Texas Government Cede, on this _3rd day of _August, A.D., 2011.
                                                    72              A   /).
                                                                :




                                             Peace Officer


                                                                                                    COSA
                                               EXHIBIT "D-13"                                       000121
        Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 16 of 30




 STATE OF TEXAS §                                                Case Nainber:       SAFD 11195919
 COUNTY OF BEXAR §                                               Date and Time: 08104111 0619
                                                                 Taken by PET. R. Hines #2358


 Page 3 of 3
 BEFORE ME, the undersigned authority in and for the State and County aforesaid, on this day personally
 appeared Officer M Florcs -Ol 89 who being by me duly sworn upon his/her oath dLpoces and says

 close to the suspect and I put the Taser on the left side of the suspect's back, [deployed the laser and I
 shocked the suspect for the five seconds. I stood up and the probes from the Taser stayed in the suspect's
 balc When I deployed the Taser the. suspect relared his left arni and an officer grabbed his left arm. I
 thought the officer had control of the suspect's arms bUt as I stppped the shock of the laser the suspect
 reached for the probes that were in his back. Thr sUspect's hands got tangled in the wircs When I saw this
happened I moved in close to the suspect to do a "dry stun" When I did this "dry stun I saw an aic pop
up between, the handcuffs. I inunediately stopped the Taser because I didn't want to. .soc an officei- The
officers were finally able to get the suspect handcuffed. We got the suspect and pivoted him on hs knees
then laid him on his stomach The suspect's head was now facing Rousseau.: We basically moved him to
get him out of the thorn bush. When we moved the suspect I noticed that he had 'an injury on his right:
buttocks. I also saw a K-9 Officer there coutrb1ling his dog and the dog was, barking. I di.dn'tsee the'dog
bite the suspect. 1 can only assume that the suspect was bitten before I arrived at the scene I heard an
officer call for EMS because the suspect had been TasecL 'The suspect was still on the ground and he kept
struggling by moving his hands and violently thrashing his body. All of a sudden the suspect stopped
fighting. I was holding my flashlight on the suspect to provide the other officers with light. I kept asking
Officer Diaz if the suspect was breathing. Officer Diaz told, me that the suspect was breathing. I checked
the suspect's pulse and he had a pulse and appeared to be breathing. All the other officers around said that
the suspect was still breathing. The suspect then looked like he may have stopped breathing. 1 went to
check the suspect's pulse again and I got no pulse. Officer Diaz went' to get EMS because EMS was
already. there assessing the situation and treating officers who were possibly injured. EMS' came to the
suspect and they asked us to remove his handcuffs Officer Diaz removed the suspect's handcuffs. EMS
asked us if any of us were Tactical Medics we told them that We were not Tactical Medics but I offered
my assistance to them. EMS asked ore to start chest compressions on the suspect. I did 3040 chest
compressions on the suspect then I was relieved by someone from EMS. After the other EMS personnel
amved Ijust assisted by holding my flashlight on them to assist them with lighting I stood by at the scene
and awaited the arrival of supervisory personnel.


Everything I have told. Detective Hines is true. This is 'the end of'my statement.


                                                                                            /
                                              Signature

Sworn to and subscribed before rue, Randal Hines, a peace officer in the State of Texas and
pursuant to No. 602.002, Texas Government Code, on this 3rd day of _August A.D.,2011.
                                                                   ZI
                                                                         ,)
                                                        ,I-'-i
                                               Peace Officer

                                                                                                  COSA
                                               EXHIBIT D-14"                                      000122
          Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 17 of 30



STATE OF TEXAS                                                           Case NUIUL         SAPD11195919
                           §
COUNTY OFBEXAR                                                           Date and   Th:     0804-2011   /   0830 hrs
                                                                         Taken by Detecth'e AdainZeldes

Page      1   of   2
                                  BEFORE ME, the undersigned authority in and for the State an County aforesaid, on
this   day pesOria11y appeared    Matthew Quintaniila    who being by me duly sworn upoii his/liar oath deposes and
says:




My naiie.is Matthew Quintanilla. I am 30 years old. and I have been a San Antonio Police Officer fc.
almost 3 years My badge number is 1607 1 am currently assigned to West Patrol "C' shift.

On 08-04-2011, at approximately 0326 hours I was on-duty in my marked San Antonio Police Department
Patrol vehicle in full police uniform, to include badge; patches, and Sam brown. I was parked in
                                                                                                    a parking
                                                                                   The dispatcher advised
lot at Marbach and Loop 410 talking. with Officer M. Alaniz #1074 in his car.                              us
that Traffic had a chase and it was coming into West Patrol. The dispatcher stated that the chase was by
Ingram. A few minutes went by anti the dispatcher advised rue and Officer Alaniz to go
                                                                                            to an address off
ofHunt Lane. I believe, it was 3118 Hunt Lane. The dispatcher told us that'the license plate of the vehicle
that was being chased c me back to that address. The dispatcher told us that there were enough officers in
the chase and not to get into it. I followed gffiee Alaniz to the address.. We got there add were waiting.
The dispatcher got on the radio and advised us that the chase was now on Hwy 151 on. the access roa± I
think it was about a mmute that went by when the dispatcher got back on the radio and said the chase has
now tume4 left onto' Military from Hwy 151. We were a ways off front. that location. I told Alaniz that
they were not going to come up this way, so we started to bead toward Military. Some time goes by and
the dispatcher stated that the chase was turning on. Rousseau
                                                                  from Military heading south. We were still
on Hunt Lane around Potranco. The dispatcher       stated that they were now turning On Deep Water Bayand
were in the cul-de-sac. I was still behind Officer Alaniz. We got to Potranco around Fillmore when the
Traffic Dispatcher toned out the officers and said they were still fighting with the guy. We picked up
speed a little. The West Dispatcher came over and said,'"let me know when the first officer is out." I told
her that we would bethäre in a second. We had just tufted onto Rousseau. We turned onto Deep Water
Bay 1 could see the lights in the cul-de-sac.

I. gotout of my ehic1e, .1 thought the fight was going to already be over. I then heard someone yelling,
"stop fighting, stop fighting I don't know who said it I ran toward where the officers were Officer
Alaniz went toward a bunch of civilians that were standing there. The first thing I observed was Officer
Pteston onth ground on all fours holding his band. He said his hand was broke and told me to go help
them. Officer Preston was at the front of the driveway. The fight
                                                                        was going on right in front of the
doorway on the grass not on the concrete. Someone stated, "help, help, we're tired, we have. been
                                                                                                      fighting
                                                                  up and grabbed   the hand  that had  the one
for awhile." I dont know who the officer 'was. I then reached
handcuff on it. It was his right band. I heard someone say, "roll him over he is laying     his other arm.'  I


                                                                                                 rT
                                                   Signature

                                                 4th
Sworti to and subscribed before        me this          day of         August    ,A.D.. 2011.
                                                                          :
SEAL                                                             - -

                           "iT&;
                                                                              and for
                                                                                        ______
                                                                                        B.ar County Texas
              \           Ccirr                    Nota          ubh     in

                                                                 I-.

                                                       EXHIBIT         DlPOCU4T #J
          Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 18 of 30


 STATE OF TEXAS §                                                            Case Num       SAPD11195919
 COUNTY OF BEXAR §                                                           Date and. Tii; 08-04-2011 / 03O hrs
                                                                             Taken by: Detective Adam Zeldes
 Page    2    of   2
                                       BEFORE.ME, the undersigned. authority in and for the State and County aforesaid, on
 tils day personally appeared          Matthew Quintanilla    who being by me duly sworn upon his/her oath deposes and
 says




 doift kow who said it. I then heard someone          "grab his feet and help me flip him over." The who
                                                                 says




 time the guy kept trying to     away and kept fighting with us. :1 had a hold of the handcuffed hand an:
                                    get
the guy kept trying to pull away. Another officer took control of the bancuffed right band and I let go o
his ann and grabbed his leg to pull him to flip him over. The whole time the guy kept holding his un-
handcuffed ann against his body. We crossed his legs and I put my knee on top of his legs to hold him
down. I then heard Officer Matt Flores say he was going to "Tase" him. I then heard, "Taser, Taser." I
then saw Officer Flores shoot the Taser at the guy hitting him in his lower back just above his buttocks.
This ws the first time I. saw anyone use a Taser on the guy. The probes were in the guys back. The guy
stopped fighting during the first cycle. I don't know who the officer was but someone grabbed the guys
ami and started to bring it back to put the handcuffs on. The guys ann got hung up in the wires and one of
the probes caine oat. Th guy then started to pull his arm back so Officer Flores went to start a second
cycle. The probe was out so the Taser wasn't working properly. The guy then started kicking his feet and
he .kicked..nie off of him. Someone else was able to get the guys arm back and get him handc'uffed. I
guess he was still feeling some of the effects of the current. I got up off the ground and saw that the guy
was handcuffed. As far as I.was concerned it was over. .1 then went to where Officer Alaniz was holding
back the family and I helped him, The Sgts and everyone else started arriving.

The only person that I saw use a Taser was Ofcer Floros. After everything was over I did hear one of the
Traffic Officers say that they had Tased the guy prior to me getting there. I did not see any other force
being used. After the guy was handcuffed and I walked away I did not see him again. I later assisted in
securing the crime, scene.

I did not use my Taser. Detective Zeldes checked and I have both of my Taser cartridges.. The only force
that I tised was holding theguys handcuffed hand and holding his legs.

The guy that I assisted with that was fighting with the officers was a black male, heavy set, wearing just
boxers afld socks. I was down there by his feet. .1 can't remember if he was wearing a shirt or not.

Everything in this statement is what I told Detective Zeldes and is true and correct. This incident occurred
in San Antonio, Bexar County Texas.
////J/f//////////II////i/1I//I/J/f//////JI/////I/f////END STATEMENT//////!u/I/(III/////////////I///Ii///1//1I//////////I/////1I.//1/////



                                                         Signature
                                                      4th
Sworn to and subscribed before me this                       day of     August        A.D., 2011.

SEAL

                                                        NotaryPub,BarCountyTexas
                                                                                                                           COSA
                                                            EXHIBIT D-16"
                 Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 19 of 30




STATE OF TEX4S:                                                STATEMENT T,4KENB Y: Dei. JJ?ii'era#2232
                                                               CASE NUMBER: S4FD1129591Y
                                                               DATE:   (18-04-2011        TiME: O85Ohaurs
COLWTYOFBEX'4R:
                                                               WHERE TAREN: 214 Naeva W

                                                                                               on    this   day personally appeared Ythe
BEFORE      ME, the undersigned authority in and for the State znd County        afarc&ctzid

Thine:,   who !ieing hy me first duly spi'orjz upon his catli and says:


           Statemeiit

        My name is Robert Tamz. and I aiti 34 years old. I am aSauAntonio Police Officer
                                                                                          assigned to the K-
                                                                               duty      distinctively inake
unit. I have been on the Police Departthent for ten and a half years. I was on      in a
Police vehicle and in full distinctive uniform.



                                                                                                               on the west side.
         I am here speaking to Det Rivera about the incident that happened this morning
                                                                                                              burglary suspects.
Officer Paul Trigo and I were on duty at Dezavala and Ll-L 10 at a Target store looking for
                                                                        chase   going    on  LII.  10   with   the suspect going
We monitor the Traffic. channel and we beard that Traffic bad a
                                                                                                                            on 110
the wrong directrnn on the access road K-9 was requested so both of us responded by                 going    northbound
                                                                                                      suspect got on      the   1604
until we got to La. Canterra where we tarried left and started going toward 1604. The
access road and he pulled. into a gas station. The officers were 'still, behind him so
                                                                                                 he went around the officers
                                                                    on  the access     road   of 1.11 10 then he got back on
and got back on 1604 going towards. LH. 10 again. He stayed
I H 10 going southbound He then went 410 west and exited at Hwy 151
                                                                                      to  Military road. At Military he did
                                                                                                                        street but I
not stop at the red light. He then went westbound on Military and he took another left on another
                                                                                                           the car. The Officers
don't know the. rtame of the streeL He pulled into a driveway at a residence arid just sat in
went up to the car on the drivers' side while Det. Fletcher      and  I  went   to  the  passenger      side  of the car. I could
                                                                              to   coniply    with   the   Officers   orders. The
hear the Officers ordering the suspeát out of the car but he refused
                                                                                                     heard    the struggling     so I
officers finally removed him from the car aud he began struggling with the officers. I
                                                                                               and was tased, then        he  ran  to
went to assist the officers. I saw the suspect stand up,'start swinging at the offloers
                                                                                                                      him and he
the front door of the house. He ran into the storm door causing it to shatter. Off Trigo grabbed
                                                                              house.    He   pulled   the   storm  door   open and
started swinging at him he breaks contact and be ran to the neighbors'
tried to force his way into th.e house. I gave him several commands to get down                and   he   ignored   all  of them. I
                                                                                                      he balled up     his  fist and
grabbed him on his right shoulder trying to pull him. away from the door. That. is when
thinking he was going to hit me I struck him twice with my asp I struck hun on his
                                                                                                  nght shoulder and he went
                                                              handcuff        it and   tried  to  manipulate     it to his back so
to the ground. I grabbed his right hand that already had a                on
he could be handcuffed. He pulled away and. he was tased a,gain. He            got        pulled
                                                                                               up7 the   probes   out and started
running back in the direction of his car. I heard one of the Officers request the clog so ine
                                                                                                         and Off. Plauche.went
 to our vehicles to get our dogs. Off. Plauche got his dog
                                                              first so I went back to help the Officers that were still
 chasing the suspect. As he was running I saw off. Plauche's dog make contact with
                                                                                                suspects' leg or buttocks. He
   ook the dog off so I went nd got my dog. I could hear the dog          make     contact    with  the suspect again and the
      went down. I could hear the officers still struggling to restrain the suspect and could hear countless
                                                                                                                               times
    arnands for him to: stop resisting. I ran to help the Officers that wete straggling,
                                                                                                  with the suspect I grabbed
  is right hand, the one that had the handcuff on  it and tried to manipulate      it back   behind    his back. At this point I
                                                                                yelled    at the  other    Officers, "he has my
 felt him grab my right leg and start aiovin up towards my         holster.  I
                                                                 him tsce vjith                        to  his thee 1-Ic let go of
 leg' I thought he was reaching for my weapon so I struck
                                                                                         Thsed.  fist




                                                                        Signature
                                         me   this 4th   day   ofAv                                          2i1__________
     ri:   to   and srthscribed before                                                .




                                                                            /1

                                                                          /                      2
                                                                        Witness

                                                          EXHIBIT "D-17"              DOCUMENT #_
              Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 20 of 30




STATE OF TE4&                                            STATEMENT TAIENBY. De £Rivera2232
                                                         cAENUMBER.. SAPDIJ19S919
                                                         DATE: O8O.t2O72            TLf1:      O85OJa,wrs
COUNTYOFBEXAR:                                                                     Nuea W
                                                         WHERE T4KEi\L       214



                                                      the Stare and County   aforesaid,   on   ihis   day perona1y rrppeard
.BE.FORE ME, the undersigned autlwrity in and for
                                                      and sj's
Tanzc, who being by ñE first duly sworn upon
                                             his auth
                                                                 hand to prevent him from using it against us.
my leg and I grabbed the handcuff on his right arm with my right
heard someone any" tasef' nd they tased him again.
                                                                          again tased him. I myself felt the shoe::
        I could see him ting to pull the probes out again, and they
                                                                 managed to get his left hand behind his back and
from the taser As. he was attempting to pull theprobes out, we
                                                                            in blood so I went to a water hose and
he is finally handcuffed. I got up and noticed my left hand was covered
                                                                            at Officers. Aftet getting the blood off
rinsed offthe blood. I could still bear the supeet yelling and screaming
                                                                             of his legs. Once the 1suspect stopped
of me; I went and helped in holding the suspect down by holding on breathing. When EMS arrived I used
                                                                     was still
struggling I got up. Once we all got up I could see that the suspect
                                                                   cut to my right hand ring finger and a small cut
their Peroxide and spray my hands off with it Isuffered a    small
to my left hand index finger.




                                                                           and everything I told IJetective Rivera
No one has threatened me or promised me anything for my statement
                                                                      because everything is true and correct. This
#223.2 in this statement:. is the truth. I have signed this statement
incident occurred in San Antonio, Bexar County.Texas.

 *''** End of Statement




                                                                   Signawre
                                                     day ofAug.                                         2&i1
    'orn to   and subscribed before me this 4th

                                                                               L
                                                                   Wtrness                                              COSA
                                                                                                                        000137
                                                       EXHIBIT "D-18"
        Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 21 of 30



STATE OF TEXAS                                                   Case Nurni        SAPD 11195919
                          §
COUNTY OF BEXAIR §                                              Date and Time: 08104/11 1000
                                                                Taken by: DEL R. Hines #235&


Page 1 of 3
BEFORE ME, the undeisigned authority in and for the State and. County aforesaid, on this day
                                                                                         deposes nd
Personally âpeared Officer P. Trigo #1536 who being by me duly sworn upon his/her oath
says:

My name is Officer Paul Trigo. My badge number is 1536.1 m assigned to Police K-9. My days off are
Sunday, Monday and Tuesday,

I reported for work on Wednesday, August 3 at 2000 hours. Iwas assigned to work 2891. 1 was assigned
to work in a marked Ford ExpeditiOn that is equipped with emergency lights, siren, and. full San AtoniO
Police decals. I was armed with my city issued Glock model '22. I bad 16 rounds in my gun and I had two
magazines loaded with 15 rounds each. I monitor The Traffic Channel 2-A. I was at TRIO at DeZavala
finishing up with assisting another K-9 Officer. I heard the dispatcher put out that there was a pursuit.
starting and that' the pursuit was at IHI 0 and LaCantera. Officers in. the pursuit requested the assistance of
K-9 and Blue Eagle. I Jearnd that the pursuit was a slow moving pursuit and the offlcrs were
anticipating that the suspect was looking for a place to run from his vehicle I drove to IH1O and La
Cantera and went westbound on La Cantera becausethat was the last known location for the pursuit. I
drove down La Cantera and as I was approaching Loop 1604 I saw the offleer's lights in the distance.
They turned westbound on 1604 Access Road. I maintained my distance because I could not get into the
pursuit. The pursuit went back nOrth towards UTSA BLVD. and the suspect vehicle went into a
convenience store. The suspect vehicle was a black SUV that looked like an Explorer. The suspect vehicle
just went through the parking JOt and got bacic      1604. The suspect vehicle did a turn around and went
back northbound on 1604. We got n northbound 1604 and the suspect went eastbound on IH 10. The
suspect went to Loop 41 Oand toolcthe westbound exit. I continued to rnoiitor the purs'ui1 from a distance.
From westbound Loop 410 the suspct took the Hwy 151 exit.and went westbound.. The suspect vehicle
kept going on 151 and exited Mllltdry Drive and turned southbound on Military Fiom Military the
suspect went to Rousseau and then be turned eastbound and, went back northbound on Deep Water Bay, 1
saw a dead end sign on Deep Water Bay. I caught up' to the officers: who were in the pursuit. The suspect
vehicle parked partially in a diiveway I don't know if the suspect or the officers opened the drivei 's door
of the suspect vehicle but the door wà'op& The Officers W'ti' gisiing"the suspect'cornmands te"sbowhis
hands and get out Of the vehicle. The suspect was not, complying with the officer's commands. The
suspect was trying to tallc on his phon.e and he would not give the officers his hand. 'The. officers, pulled
the suspect out of the vehicle. The suspect was about 5' 8" tail and he weighed about 240 pounds. Hewas
a blacic mSle 'and. he was wearing dark shirt and dark shorts. That is what I remember.



                                              Signature               ;.,
                                                                          :2j
                                                                            ....

Sworn to and subscribed before me, Randal Hines, a peace officer in the State of Texas and
pursuant to No, 602.002, Texas Government Code, on this _4th day of_August, A.D., 2011.


                                               Peace Officer

                                                                                              2      '-1.



                                               EXH   I
                                                                     nr'r9
                                                         BIT "D-1 9" ''
                                                                              rMMT #         C'             SA
            Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 22 of 30



STATE OFTEXAS §                                                        Case Nuini            SAPD11195919
COUNTY OF BEXAR §                                                      Date and Titne: 08/04/11 1000
                                                                       Taken by DET. R. Hines #235S


Page    2    of3
BEFORE ME, the uiidrsigned authority in and fo the State and County aforesaid, on this day
personally appeared Officer P. Trigo #1 536 who being by me duly sworn upon his/her oath deposes and
Says:

The officer tried to take e suspect to the ground. They were doing this on the sidewalk just outside the
vehicle. I believe that Officer Preston got a handcuff on the suspect. I could hear. Officer Preston telling
the suspect to stop fighting and resisting and to give him the other hand I was watching the house that the
suspect drove to because I didn't want family to come Out and attempt to interfere with the arrest.. After
several attempts to get the suspect handcuffed. the officers were not having any success at handcuffing
him. I went to help the officers and put my hands on the suspect's back to try to pin him down. I don't
know exactly how the suspect got to the ground but I know that he was on the ground The suspect kept
fighthg and be was using hiS free arm to try to. push up off of the ground. With three officers on him we
couldu't get him under Control. I heard an officer say "stop resisting or I will Taze. you". I heard the
officers say that they were. going to Taze the suspect so I let the suspect go. The suspect was Tazed and
the Tazer had no effect on him It seemed like it had the opposite effect on him The suspect muscled his
way back up to his feet after he was Tazered the first time The suspect ran towards the front door of the
house where he had parked his car. The suspect. broke the outer glass door and lie was stopped by a
wooden door. The suspect was trying to get to the door knob and 'aa trying to make entry into the house.
I chased after him while giving him commands to stop. .1 didn't know if the suspect Eyed at this house so I
gave him another command to stop. I. pulled my ASP out and gave the suspect more commands to stop.
The suspect refused to comply and kept trying to make entry into the house. I struck the. suspect on the
upper right shoulder with my ASP two times. I, along with several other Officers kept telling the suspect
to get down on the groind. The suspect turned and pushed past me and the other officers and ran .towars
another house. When he got to the other house he tried to make entry into their front door. I still had my
ASP out and I kept telling the suspect to get on the ground and I struck him with. my ASP two more times
He still refused to comply with my commands. He pushed past me and. kept running like lie wanted to go
back to the other house he was first. at I believe that be was Tazed again as he was trying to run. He
turned and rair towards the street and at this time Tony Plauche deployed his dog. The
                                                                                            dog made contact
with the suspect's upper leg area I cant remember which leg it was With the dog biting him the suspect
kept running It looked like he was going to the house across the. street but he made a sharp left turn.
Several officers were still pursuing the suspect, and giving, him commands to stop. The suspect fell into
the flower bed. Officers got on top of the suspect and tried to control him and tried to get his hands to his


                                                                                /
                                                       Signature
                                                                    \'
                                                                           ./               i3 h
                                                  Randal Hines, a.pcace    officer in thie State of Texas   and
Sworn   to   and subscribed           befOreme5




pursuant to No. 602.002, Texas Government Co4e, p                  this   _4th day of      August, AD., 2011.

                                                                                      _7
                                                                                    ..)
                                                               I

                                                                              /
                                                       Peace Offlcer


                                                                                                                  cosA
                                                        EXHIBIT "D-20"                                            000140
         Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 23 of 30




 STATE OF TEXAS           §
                                                              Case NumJ..: SAPD11195919
 COUNTY OF BEXAR              §
                                                              Date and Time: 08/04/11 1000
                                                             Taken by: DET. R. Hines #2358



Page 3 of 3
BEFORE ME, the undersigned authority in arid for the State and County aforesaid, on this day
personally appeared Officer P. Trigo #1536 vhobeing by me duly wor upon his/her oath deposes tnd.
 says

sides. The suspect kept resisting and he wu1d not let the officers handcuff him. I saw the suspect's right
hand with the handcuff on it. I giabbed the handcuff to contiol it I was holding the handcuff winie the
other officers were trying to get his Jell hand behind him The si.ispect was still resisting by pulling his
arms away kicking violeit1y. I tried to maintain control of the right band while several other officers kept
trying to get the suspect's left hand. I saw the suspect's rib cage on his right side and I startod punching
him to try to knock the wind out of him. The punches had no effect on the suspect. I started to get tired of
struggling with the suspect. Another officer took the handcuff because he saw that I was tired. I got up
and caught my breath. The suspect was still resisting violently. I kicked his left thigh several times tmying
to stun him. The kicks had no effect on him. Officer Flores deplpyed his Tazer and gave the suspect more
commands afld warned the suspect that he would be Tazed. The suspect continued resisting s I backed
off and he was Tazed by Officer FloreS. The officers got control of the suspect's other hand. They were
able to get his hand behind his back and get him handcuffed. The suspect kept on Icicking and trying to
get to Ins feet He was yelling and screaming The suspect was still using his feet as a weapon and I got
his feet and held him down by his feet lo fry to control him. We were there for a few minutes on the
ground. It seemed that the suspect had calmed down arid he was still calling out to his family members. I
got up from the ground after I felt the suspect was not resisting any more. I waited for EMS and I was
checking on other offlcer. I went back towards where the family members were to fry to assist with
crowd control. I didn't witness the suspect stop breathing. I don't know what happened there.



Everythigg I have told Detective Hines is true. This is the end of my statement.




                                             Sign atüre                2   /
                                                              Th/
Sworn to and subscribed before me, Randal mnes,a peace officer iI'the State of Texas and
pursuant to No. 602.002, Texas Government Code, on t_4th day of                August, A.D., 2011.


                                             Peace Officer

                                                                                                     COSA
                                               EXHIBIT D-2V                                          030141
        Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 24 of 30



 STATE QF TEXAS                                                  Case NUrnL            :   SAPD11195919
 COUNTY OF BEXAR §                                               Date and Time: 08104/11 0845
                                                                 Taken         by:   DET. R. Hines   #2358




 Page i of 2
 BEFORE ME, the undersigned authority in and for the State and County afoies aid, on this day
 personally appeared Officer V. Diaz #0879 who heii:ig by inc duly sworn upon his/her oath deposes rüid
 says:

 My name is Officer Vidal Diaz. My badge number is 0879. I am assigned .to West Patrol C Shift. My days
 off are Monday and Tuesday.

 I reported for work on Wednesday, August 3 at 2230 hours.. I was assigned to work 5342C. I was
 assigned. to patrol in a marked patrol car that is equipped with emergency lights, sften, alid frill San
 Antonio Police decals. My patrol car was one of the black and white cars. I was armed with my city                   =




 issued Glock model 22. 1 had 16 rounds in my gun atid I had two magazines loaded with 15 rounds each. I
 was dispatched to a call at the Red Roof Inn at Alamo Downs and 410 for a male trying break into soda.
 niachines I responded to that call with Officer M. Flares #01 89 We handled that call and we didn't find
 anyone An N-Code was placed on that call After that call was complete I heard the dispatcher put out
 over the radio that Traffic had a vehicle pursuit that was travelling southbound on Loop 410 I didn't see
 the suspect vehicle on Loop 410 bat. I saw several patrol cars and Blue Eagle. I drove northbound on th
 Access Road of Loop 410 and took the turnaround at Ingram Rd, Officer Flores was driving in front of
 me. We drove southbound on 410 and 1 saw Eagle flying like they were going westbound on State Hwy.
 15!. 1 was driving a long distance behind the pursuit and my purpose for being there was to assist ofi a
 quadrant in case the suspect started running. When the pursuit went in the main lanes of Hwy. 151 I
 stayed on the access road of Hwy. 151. I continued to monitor the pursuit front a distance. The pursuit
 was not going very fast at all. I saw the patrol cars edt Military Drive and turn left.. I made a ]eft turn onto
 Military Dnve I followed the pursuit on Military Drive and I saw the pursuit turn left onto Rousseau The
 dispatcher told me to stay OiI Military Drive because the suspect had turned into a cul-De-Sac. I parked
 my car on Military Drive and r went with Officer Flores into the woods. Officer Flores went to one area
 and I went to another area. I was listening for, any sign of the suspect runnuig out of the woods or
jumping fences or anything like that. While 1 was waiting the dispatcher called me and Officer Flores by
our call signs and told us to, make the location of Deep Water Bay because the traffic officers were not
    pbndi .... to theirra dtosJ eta rted driving SOUtIFOn Miiitayand 1
                                               ....                                upOfflcerF1ores Officer   ....


Flores got into the back seat of my patrol car. We arrived on Deep Water Bay. I saw several officers at a
house struggling with a black male. The black male was wearing white shorts and he was on the ground in
a flower bed. He        a large black male. He probably weighed about 250 pounds. I would say that around
three officers were struggling with the black male. I saw that one officer ali-eady had the suspect's right



                                              Signature        '.'fr \    ,l   /
                                                                    ci
Sworn to and subscribed before me,Randal Hines,,a peace officer intheState of Texas and
pursuant to No. 602.002, Texas Government Code, on this 3rd day of_August, A.D., 2011.


                                              Peace Officer
                                                                                                 r    ')


                                                                         DOCUMENT #_2L                       COSA
                                                      EXHIBIT "0-22"                                         000145
         Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 25 of 30



       OF TEXAS §
  STATE.                                                       Case   NumL               SAPD11195919
  COUNTY OF BEXAR                                              Date and Time: 08/4/11 0845
                                                               Taken by         DEL R. Hines #2358


 Page 2 of. 2
 BEFORE         the undersigned authority in and fOr the State and County aforesaid, on this day
 personally appeared Qfficer V. iaz #0579 who being b' me duly sworn upon 1iis/hr oath deposes and
 says:

  arm in a handcuff The handcuff was on the suspect but, the suspect was still moving his artn back and
  forth violently. The officer dichft have control of the suspect's right arm. The suspect's left arm was
 underneath 1-us body I went to the suspect and I started trying to get the suspect s left arm behind his
  back. I could see that all the other officers there were very tired from struggling with the suspect. I was
 trying to. pull the suspect's left arm and he was able to pull my arias back under his body, He was very
 strong. I coujd only hear .the suspect saying. 'Tm over here". The suspect didn't say anything to me
 directly. I heard an officer yell "Taser, Taser, Taser". 1 continued tO hold the suspect's left arm. The
 suspect Was still pulling away from me violently. I know that I am ok around the Taser as long as I don't.
 go between the prongs. I. heard the Taser deploy and I could see the prongs in the suspect's back. I could
 hear the Taser being used. The suspect weflt limp andl was able tO gethis left arm bck behind him. Once
 I got the left ann behind him the suspect suddenly grabbed for the prongs that were in his back I felt
 some little jolts from the Tasei at that time The suspect then staited pulling me back towards hun again I
 could feel the Taser going off again. I was then able to get the suspect's left ann all the' way back and
another officer handcuffed him. Once he was handcuffed he was' facing down and I rolled him over and
laid him on his back and got him out of the flower bed. Once I rolled him over I rotated his body to put
him on his side. The suspect was breathing and the breathing: was very loud. The other officers started
walking away because they were very tired, Officer Flores and I stayed with the suspect. As time went by
the suspect's breathmg got quieter I could see his belly moving so I knew he was breathing I continued
to look at hint to monitor his breathing' by rolling him over to his side and making siite he was not on his
stomach As the suspect's breathing got quieter I had my hand on his back and he was still breathing I
assumed thi.t the suspect was just calming down. I noticed that the suspect stopped breathing and 1
immediately told the other officers that he had stopped breathing and I asked for the EMS personnel to
come look at the uspect EMS asked me to remove the suspect's handcuffs and roll him over. EMS asked
for one of us to assist with PR. Officer Flores started doing chest compressions and I held my flashlight.
EMS as1cd nie to efa time check and asked me to rethember the tixtie The only fofc that I witnessed
was the use 'of the Tasen I didn't see the suspóct get. bitten by K-9 and I didn't see anyone hit him with an
ASP. The injuries I saw on the suspect were swelling tO the right eye ad some type of injury to his
buttocks.
Everything I have told Detective Hines is true. This is the end of my statement,



                                             Signature                     C?



Sworn to and subscribed before me, Randal Hines, a peace officer in the State of Texas and
pursuant to No. 602.002, Texas Government Code, on this _3rd day of     August, A.D., 201L

                                                       I   I          /._-(     .-..-,
                                              Peace Offier


                                                                                                     COSA
                                               EXHIBIT "D-23"                                        000146
              Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 26 of 30



 STATE OF TEXAS:                                                  STATEMENTT4KNB.                       RicyD. Lope; #2021
                                                                  CASE NUMBER:       .        li
 CO.UNTYOFBEXAI?:
                                                                  WHERE TAKEV: 214          Arwea



 BEFORE ME,      the undeiriç'ned aut/writy in     and for   the State   and County aforesaid, on   this   day personally appeared Aubrey
 P1mw/i a 410897, who being by   mefirst   duly sworn upon her oath and s's:


 My name is Aubrey Plauche and I am currently employed by the City of San Antonio as a police offleer, bad.
 #QS9.l. I am assigned to the K-9 Uiit and I an the. handler for "Iy:o". I read write, speak and understand
 English language.

  I am here to talk to Det, Lopez concerning the incident that occurred at 10807 Deepwater            ay, Myself and
 another handler, Roy Rodriguez #1417 were on break at Ashby and McCullough and we heard a traffic officer
 say on the radio that he had a wrong way driver that was not stopping. We started heading out 1-10 towards L
 Cantera towards the incident. The suspect ended up getting on 1-10 East bound and I exited DeZavala and took
 the turn-around. We waited until we saw the pursuit go by us. The officers were following some sort of SUV
 Me and Rodriguez got onto the freeway behind the pursuit and straddled the lanes on the highway to keep the.
 civilIan cars from passing us afld getfing into the chase. The chase was at times trayeling slower than the speed
 limit I rernembei one of the traffic officers saying on the radio that he had a camera and he asked if be could
 get into the pursuit. The officer passed us and went up ahead to get the camera into the pursuit. We stayed in the
 background following the chase.. The suspect; exited at around 151/Military off Loop 410.. He started going
 outbound and we took W. Military heading towards 1 04, thew south on Rousseau nd left on Deepwater Bay.
 As we got down that street, it was a narrow street and it appeared as if we were in single file. Two Other K-9
 officers were in front of tis, Trigo and Tamez. They pulled, off to the right of the cul-de-sac. I stopped. my'
 vehicle where the curve of the cul-de-sac began and could see straight down the sidewalk where the suspect had
 pulled into the driveway. He looked like he had the left front.wheel in the driveway and the rear wheels were
 still in the street I was looking at the driver's door. The suspect opened the driver door and he was still seated,
 but his feet were out of thevehicle. He looked like he was facing the rear of the vehicle and he had his hands
 up. He was saying something to the officefs, but I couldn't understand him. The officers were yelling routine
 Ooinmands. to "get out of the vehicle, let inc se your hands, get on the ground". The officers were saying this
 over and over again I sav an officer with a Taser pomted at the guy because I could see a red dot on the
 suspect. He was a few feet from the actor and directly in front of him. Another offlcçr also was approaching,
 keeping the suspect in kind of a triangle. The suspect had his hands up about shoulder height and it looked like
 he was complying with the officers and that it was under control because he had gotten out of the car and onto
Jms kn        I started walking down the sidewalk towards them and was not in a hurry because it looked like it
 was under control. As I approached the officers were still giving corruniands to the suspect but he would not
 comply further with theoffiôers. It was obvious that he wasn't going to go any further to the ground at this time
 and was not going to comply with the officers. It looked like nothing was getting through to him. Officers
 started walking up from my peripheral on the right side and two officers approached the suspect. and got him by
 his wrist to get him handcuffed. It looked like the officers grabbed him at the same tlme, They tried to push him
     he grotul-id and they got his right hand behind him fairly quickly. The suspect didn't want to go to the ground
      was twisting to his right and he was keeping his left forearm flat cii the ground. It looked like he was still
    :ng to get up and he didn't want to go to the ground. It still didn't look like itwas going to be that big of a
 Ja] and I was by his bead facing him and grabbed his left wrist to                      yota
                                                                                      and bend it to get behind his

                                                                           Signatitre

                                                   04th
  'wiz to   and subscribed before      nrc this           day ofAugust,     AD 2011
                                                                                          - -       -      -,---

                                                                           Witness
                                                                                                           rfl4.
                                                              EXHIBIT "D24"
              Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 27 of 30



  STATE OF TEX4S:                                        STA TEMENT TAKEN B }.            Jô'cky D.   Loper #2021
                                                         CASE NUMBER:        .




  COUNTY OFBEXAR:
                                                           HERE 4KE1* 214 flNueva

 BEFORE ME, the undersigned wtrhor!iy in and for the State wid Coiiiny aforesaid, on tJds day personally appeared A:threi
 Plauthe #0891, n'Jin beiii.g by inc first duly sworn upon her oridi and says:
 back. Another officer with a better position than me told me that he had it and th other officer grabbed the left
 wrist.. I. do remember someone yelling "Tase Mini" during the struggle. There were four (4) officers trying to
 the suspect into custody when I had a hand on him It appeared that his strengthwas way more than it she.
 have been. We were having trouble handling him. I took a step back and when I did so, the suspect was abk
  get his hands free and the officers were losing control. .Somone said "hurry, Tase Iiini" and somebody tased h.
  right then and there. When the officer said that he had tased him everyone turned loose and the suspect was
  saying "okay, okay". We were waiting for the suspect to collapse and instead the suspect stood up arid all hell
  broke loose. We all tried to get hands on him, but the suspect started running towards 10807 Deepwater B::-'
  and we were in pursuit of him. We were trying to cut him off and Iran to the left. I heard th front glass door
  shatter and it looked like he had gone through the glass, but lie didn't get inside because it looked like the main
  door was locked. All the officers were: still yelling commands at him to "get on the ground". The suspect was
 not complying with these requests. I. ran around the car to help them and the suspect then broke to the left, I
  think to the West and when he was between two houses the officers were able to get hold of him again. I heard
 other Tasers go off but didn't see who had shot them. I beard someone yell to "get a K-9" and I noticed more
 officers on scene I think about five (5) officers were engaged in trying to get the suspect into custody The
 Tasers were having no effect. so I went to my truck and leashed up my dog and when I turned around, the
 officers and the. suspect were at a different house. I think 10811 Deepwater Bay and they were scuffling wIth
 the suspect who was flailing his arms arid because of his strength the officers couldn't control him. The suspect
 broke away, going back towaids 10807 Deepwater Bay and when he broke fiee I Sent the. K-9 to apprehend the
 suspect, but when I did so, someone stepped on his leash which stopped him. The suspect was running between
 the cars and I sent the K-9 again. The dog was right behind him and the leash got wedged under a tire, which
 stopped the dog: again. The suspect continued past 10807 Deepwater Bay as I freed the dog and gave him the
command to go again. The suspect went past the traffic cars and I was following the dog and I had Taser wires
on me. When we got about 2/3 through the cul-de-sac, the dog got a bite on the suspect's buttocks area and the
suspect continued to run v ith the dog on him He was havmg trouble running with the dog on him and he then
ran towards the door of 10802 Deepwater Bay with the dog still engaged. I do not know if it was a continuous
bite or multiple bites, but. the dog took the suspect down in some bushes in front of 10802 Deepwater Bay..
Immediately when he fell, I.reacbed to take control of the leash and I saw the officers piling onto his upper torso
         ogethintocustod                        ontrolle                   Pt cono1 of the dog which still had the
suspect by his buttocks. The officers were continuing to tell the suspect to "stop resisting" and "put your hands
behind your back", but the suspect wouldn't listen. I held onto the dog for a long time, I don't know how long,
it seemed like ininutes I remember the dispatcher saying over the air to let her know when the suspect was in
custody. The scuffle bad gone on for several minutes and the dog lost his grip on the suspect's buttocks. The
dg kept control of the suspect's clothing and this kept the suspect's legS under control so he couldn't get his
     es under him. I kept tension on the leash while, the officer's kept trying to get the suspect into custody. The
     cers. were striking him. I saw punches to the suspect. They were punching.him in his upper body to try to get
  Th under control. I was controlling the lower body with the dog. Finally somebody said that they had got him
and I called the dog off at that time, standiag by for about two to Qire,.ai tes"he suspect started saying

                                                               Sign

       to   and subscri bed before inc this 04" day ofAugizs4         2011
                                                                                 ,-.-   ,;_''   ,.


                                                                                                                COSA
                                                    EXHIBIT 'D-25"                                              000133
             Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 28 of 30



STATE OF TEX4S:                                          STATEMENT T4KMTRA               lUckyD; Lopez #2021
                                                         CASE NUMBER:
COUNTY OF BEX4R:
                                                         13'HERE   TAKEN: 2)4 WMiei'a


BEFORE    ME, the undersigeed authority in and for the State and Coniny aforesaid, on   this ticy perso,xalIy   appeared   Aiibj-c'
Plauche #0891, who being by inc first italy sworn npon tier oath wit! says:
 "okay, okay" and the officers had sat him up. When the officers stated that they had him in custody there w:s
no other force used against the suspect. I did not see who got the handcuffs on the suspect and I was the                     i


person using force against him because I had the dog, The suspect then lay down on his side. I had walked a
to let the dog cool off and after a minute or two I remember people yellitig frOm 10807 Deepwater Bay, wh
the broken door was. I figured they were family members and I remember seeing an older lady at that hou;.
She stayed over there andl no one interfered with the arrest after that. I then went and put the dog up. r went
back out in the cul-de-sac and was talking with other officers about what happened and I then went back over to
the suspect to see where he had been bitten so I could put that into my. use of force report. When I went over
there, an officer was guarding the suspect and he told me that the suspect was not looking good. EMS had just
pulled up to the scene and EMS quickly looked at him and I saw an officer un-handcuff tb suspect, I assume
because EMS told him to do so. The next thing I remember, the suspect was layingl on his back and looked
unresponsive. After that I hung out in case we bad any crowd control issues. I remained there until the crime
scene was processed. Once th scene was processed, I caine to 214 W. Nueva to provide a statement.

This is all I can tell Det. Lopez about what happened. . I gave this statement to Det. Lopez and I have read and
understood it to be true and correct. These events all happened in San Antonio, Bexar County, Texas. End of
statement




                                                              Sign attire

                                           04th
 'orn   o   md sthscrthed before me this          day ofAugust, AD 2011
                                                                               -- _:-'
                                                                              ,
                                                                      ___i_____                     , L./
                                                                                         '
                                                                                                                  COSA
                                                     EXHIBIT "D-26"                                               000134
              Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 29 of 30



  STAT1OFTEXAS §                                                       Caste   Number        0968915
  COUNTY OF BEXAR §                                                    Date and Time;       f4/201I 9:25   AM
                                                                      Taken by:          Det. R.Runnell #2090

  Page    1    of
                                   BEFORJ        the undersigned authority in and forthe State and Countyaforesaid, on this
                                                   ME1




  day personally appeared Gary Edwin Hoverniale who being by rue duly sworn upon his/her oath deposes and says:



        My name is Gary Edwin 1-lovermale. I am 70 years old. I am retired military from the United
 States Air Force. I can rcad, write and understand the English language. I have come to the 1-lomicide
 Unit today to talk to Detective Burtnell #2090, about an incident That occurred in front of my home in the
 10800 blk of Deepwaler Bay, in San Antonio, Texas, on August 4th, 2011.




          I was at. home  asleep in the living room of my home. I sleep in my recliner on ocassions because of
  medication. that I must take before going to bed and it knocks me out so I sleep very heavy. If I don't take
  it Fin in trouble, meaning I can't get to sleep. The master bedroom is upstairs and my wife had gone to
  bed earlier. Between 3 am. and 5 a.rn. I am guessing, because I didn't Eoo:k at the c1ok, my wife came
  downstairs and woke me up from my recliner and she told me that there was a lot of lights flashing
 outside and she was bearing voices in the front of the house. I sat up and went to the door and saw lot of
 flashing lights. They were red and a lot of red lights at that and they appear to be all red when you dOn't
 have your glasses on. I looked through the window at the top of the wooden door arid I looked, down and
 could see a commotion in the flower bed. and I heard noises like someone was giving comands... I Went to
 put some shorts on, to be decent, you know, and then went back to the door, I cracked the door open and
 about five to six feet from my froa door was my flower bed which is normally located in the front of the
 house around the perimeter and the house. I could see what was going on, The sCreen door was made of
 glass arid one of 'the officers had approached the door and to1d me.to close the door and stay inside I never
 got out onto the porch entryway really.
         Wben I opened the door, I heard someone saying Gary and I saw four to six police, officers
                                                  ..
 wrestling him. They were all ready on the ound with him and tearing up my flower bed. They looked
like thay were having a diiflcult time with him and they were saying, "Put your arms behind your back,
put your anus behind your back!" and he was resisting, I saw several officers pulling on his arms trying to
gee them behind hi back to band cuff him 'and they were having a hard time restraittirighim. it appeared
tome that he wa.sresistmg_arrest Because he was yellng "Gaiy"J igutd hemu knowwho Lwas, but
I didn't know who he was. There were so many police cars there that I didn't see any other vehicle that he
may have been using. So I do not know if he was driving a vehicle or iot. All of the. police vehicles were
located in the street. The guy that was tighting the police appeared tO be a large guy, just thick. Once they
got him out of the flower bed, all I saw was his butt and his butt was big, that's all I could say.
        I couldn't even describe to you what the guy looked like or his race -until the officers pulled.him
out of the flower bed. They had him in the grasss and then I saw that he was a black or Hispanic because I




                                                   Signature

Sworn to and subscribed before me this 4th day of August A.D..,                 11.

                                                                                      2C       C)

                                                                     Peacc Officer



                                                         EXHIBIT "D-27"
            Case 5:13-cv-00700-RCL Document 44-5 Filed 03/02/15 Page 30 of 30



 STATE OF TEXAS                                                      Case N.umbek         )-0968915
 COUNTY OF BEXAR §                                                   Date and Time: 814/2011 9:25 AM
                                                                     Taken, by:    Det. RBunnell 2.O9O

 Page   2   of
                                  BEFORE ME the undersigned authority in and for the State and Countyaforesaid, on this
 day personally appeared Gary Edwin Hoverrnale who being by me duly sworn upon his/her oath deposes and says:



 saw his butt. 1 left the screen door shut but the heavy woOden door open. Anyway they remo\'ed him frorr'
 the flower bed to the grass in the yard and there were all kinds of officers around him so you reaII:
 couldn't see what was transpiring.
          When I was in the doorway, I did not see any of the officers 'with a 'baton in their hands or any
 other type of weapon. I didn't see anything like that. 1 then turned and went to get some coffee and then I
 went and sat in my recliner chair. I guess about thirty minutes. to an hour later my wife's cell phone' rang
 and woke her up again. My wife came downstairs and she handed me her cell phone and it was Brenda.
 Brenda is a neighbor. Brenda asked me if 1 was seeing what was happening in my front yard. I'm surprised
 she could see with all the police cars in front of the house. Police cars were in front of her house also. I
 told her that they had somebody out here and she said, "That somebody is my son." I didn't know who the
 suspect was at the time, but they had 'been in my flower bed. I told her that 1 didn't know what was going
 on or who the police had. I then hung up the phone. .iust after tht call, a neighbor across the street, Betty
Jenkins called and asked me what was going, on. Apparently they couldn't see what was going on either. .1
told her something like,"they have somebody on-the ground here". I wasn't on the phone with her long at
all. I stayed in the house until an officer came with one of your investigators to talk to inc. I was then
asked to' come down to the police station to makea statement.
         From the recliner I saw sortie paramedics with a stretcher arriVe on -the scene and I saw the
paramedics pressing on his chest and from my military training that tells me that he was having heart
probl ems and then they put him on the.stretchers. They took him out of the yard,
         At this time, I still would not know who this suspect was if Brenda hadn't called me and told me
that it was her son.




                                                           id       ihiñi I          dièüU12O9OE
statement is the truth. I have signed this statement because everything is true and correct, This incident
occurred in San.Antonio, Bexar County Texas.
       /1//i/f//liIII//IIil/I///II///END STATEMENT////II1IIl1///f/////I/II//Ifi/fII/1f/if///11i/I/1///IIIII1I//////1//




                                                   Signature                     .             j,v.Lc-'
Sworn to and subscribed before me this 4th day of August                    ,2011.


                                                                    'ace Officer
                                                        EXHIBIT D-28"
